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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


BUNN ENTERPRISES, INC., ET AL.                    :        CASE NO. 2:13-CV-00357
                                                  :
               Plaintiff,                         :
                                                  :        JUDGE MARBLEY
        v.                                        :
                                                  :        MAGISTRATE JUDGE KEMP
THE OHIO OPERATING                                :
ENGINEERS FRINGE BENEFIT                          :
PROGRAMS                                          :
                                                  :
               Defendant.                         :

     DEFENDANT’S RESPONSE BRIEF IN OPPOSITION TO PLAINTIFFS’ REQUEST
                      FOR PRELIMINARY INJUNCTION

I.      INTRODUCTION

        Plaintiff Bunn Enterprises is a party to collective bargaining agreements (“CBA”) with

the International Union of Operating Engineers, Local Nos. 18, 18A and 18B. (“Local 18”).

Pursuant to the CBA, Bunn is obligated to make fringe benefits contributions to four Ohio

Operating Engineer Fringe Benefit Funds.

        Defendants are the Ohio Operating Engineers Health and Welfare Plan, the Ohio

Operating Engineers Pension Fund, the Ohio Operating Engineers Apprenticeship Fund and the

Ohio Operating Engineers Safety & Education Fund (the “Funds”).1 The Funds are jointly-

administered multi-employer fringe benefit programs established for the benefit of employees of

contractors who perform work pursuant to a collective bargaining agreement with Local 18.

Raymond Orrand administers the Funds on behalf of the Trustees.

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  Plaintiff has named a non-existent single entity “The Ohio Operating Engineers Fringe Benefit
Programs.” The undersigned represent the Pension Fund and the Health and Welfare Fund, and
it is the actions of these Funds that are apparently the subject of Plaintiffs request for Preliminary
Injunction.
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       The CBA required Bunn to hire union members, to pay union dues to the Union, and to

make fringe benefit contributions to the Funds. Also by virtue of the execution of the CBA,

Bunn became party to Declarations of Trust establishing the Ohio Operating Engineers Health

and Welfare Plan, Pension Trust Agreement, Apprenticeship Trust Agreement, and the

Education and Safety Trust Agreement, and agreed to make contributions to those funds as

outlined in the agreement. Bunn is obligated under the CBA to pay contributions to the Funds

for “all hours paid to each employee.” See Defendant’s Opening Brief p. 7.

       Bunn has failed to make all of its required contributions, resulting in a delinquency in an

amount in excess of $50,000. Because of this delinquency not all of Bunn’s employees have

been credited with all of the hours of service that they should have been had contributions been

paid in full. Rather than pay the delinquent contributions, Bunn has initiated this action on its

own behalf and purportedly on behalf of its current and former employees to compel the Funds

to provide benefits based upon the contributions that Bunn has refused to pay. Bunn’s request

for a preliminary injunction must be denied.

III.   ARGUMENT

       B.      Plaintiffs Cannot Succeed on the Merits.

               1. Plaintiffs Have Failed to Exhaust their Administrative Remedies.

       Plaintiffs’ Opening Brief doe not even argue that any f the Plaintiffs have exhausted their

administrative remedies before initiating this lawsuit. Both the Pension Fund and Health and

Welfare Fund require that an eligibility determination be appealed to the Trustees before any

litigation can be initiated against the Trustees. Plaintiffs have wholly failed to comply with this

requirement. Their claims will fail as a matter of law.




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               2. This Court Has Repeatedly Rejected Bunn’s Argument

       Bunn Enterprises’ position is inconsistent with the CBA and with the decades of

precedent from this Court interpreting the very same contract language. This language has

remained unchanged in the CBA for decades and has been repeatedly held by this Court to

require contributions based upon all hours paid to the employees. Whether an employee is

performing non-covered work for some of the hours he worked is immaterial to determining the

contributions due to the Funds. Defendant’s Opening Brief cited three opinions from this Court

adopting the Funds’ position on this question. In addition to those cases the Court should also

consider the precedent of Orrand et al. v. Maintenance Unlimited, Inc., Case No. 2:96-cv-766, at

p. 4-5 (S.D. Ohio Feb. 25, 1998)(attached hereto as Exhibit A). In Maintenance Unlimited, this

Court once again affirmed the Funds position that “a signatory employer is required to pay fringe

benefit contributions in connection with all hours worked and paid, even for non-covered hours.”

Id. Given this precedent and the other authorities cited in Defendant’s Opening Brief, Plaintiffs

cannot demonstrate a strong likelihood of success. A preliminary injunction is not warranted.

       C.      Plaintiffs Have Not Established Irreparable Injury.

       A plaintiff's harm is irreparable only if it is not fully compensable by monetary damages.

Overstreet v. Lexington-Fayette Urban County Gov't, 305 F.3d 566, 578 (6th Cir. 2002);

Basicomputer Corp. v. Scott, 973 F.2d 507, 511 (6th Cir. 1992). Plaintiffs have not established

any injury that could not be compensated through monetary damages.

       Bunn attempts to recast its refusal to uphold the CBA my making required contributions,

into a refusal by OOE to provide health care coverage. However, if Bunn paid its premiums as

required by the CBA, all of its employee’s would have whatever level of coverage they are

entitled to under the H&W Plan. More importantly, Bunn’s employees are not losing access to


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H&W coverage as self-pay is still available. H&W coverage is not free. Premiums must be paid

by a contributing employer or by a participant to secure and sustain coverage. Plaintiff’s

misstates the issue and claims the H&W Fund is withholding coverage. It is not.

       The Supreme Court and Sixth Circuit have recognized that, “mere injuries, however

substantial in terms of money, time and energy necessarily expended in the absence of a stay, are

not enough. The possibility that adequate compensatory or other corrective relief will be

available at a later date, in the ordinary course of litigation, weighs heavily against a claim of

irreparable harm." Babler v. Futhey, 618 F.3d 514, 523-24 (6th Cir. 2010) (citing Sampson v.

Murray, 415 U.S. 61, 90 (1974)). The elimination of benefits is not at issue here because

plaintiffs can retain their coverage during the pendency of the litigation and any costs that

plaintiff would expend could be reimbursed in the unlikely event that the Plaintiffs prevailed.

       If Plaintiffs were to lose coverage it is a self-inflicted injury attributable to Bunn

Enterprises’ failure to make contributions on their behalf or to their failure to make self-pay

contributions. Self-inflicted harm does not qualify as irreparable. Salt Lake Trib. Pub. Co. v.

AT & T Corp., 320 F.3d 1081, 1106 (10th Cir. 2003) (“We will not consider a self-inflicted harm

to be irreparable”); Caplan v. Fellheimer Eichen Braverman & Kaskey, 68 F.3d 828, 839 (3d.

Cir. 1995) (“If the harm complained of is self-inflicted it does not qualify as irreparable harm”)

(citing 11A Charles A. Wright, Arthur R. Miller and Mary Kay Kane, Fed. Prac. & Proc. §

2948.1, pp. 152-153 (1995)).

       To demonstrate irreparable harm, the plaintiffs must show that unless OOE pays the

premium payment, they will suffer "actual and imminent" harm rather than harm that is

speculative or unsubstantiated. Monsanto Co. v. Manning, 841 F.2d 1126, 1998 WL 19169, at

*6 (6th Cir. 1998). Here there is no question that Plaintiffs can make self-payments that will


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continue their coverage under the Plan. Plaintiffs could appeal the eligibility determination to

the H&W Plan Trustees to seek a refund of self-paid contributions.

       The cases cited by Plaintiffs in support of irreparable harm are easily distinguishable

from the present case. The cases cited by Plaintiffs represent situations where retirees

established that they had had been denied the ability to secure continued healthcare coverage.

Here, Plaintiffs undeniably have the ability to continue their coverage for the indefinite future.

The fact that they would have to pay premiums to extend that coverage does not render their

harm irreparable. See Cooper v. TWA Airlines, LLC, 274 F. Supp. 2d 231, 241 (E.D.N.Y. 2003)

(because plaintiffs could obtain COBRA coverage no irreparable harm was present).


IV.    CONCLUSION

       Plaintiffs have not demonstrated a strong likelihood of success on the merits. The claim

of Bunn Enterprises is contrary to decades of existing precedent from this Court. The claims of

Bunn’s individual employees fail because they are challenging eligibility determinations without

first exhausting their administrative remedies. Moreover, the Plaintiffs have not demonstrated

irreparable harm. To obtain health and welfare benefits, the benefits must be paid for through

contributions from Bunn Enterprises, another employer, or Plaintiffs themselves.




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                                    Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 30, 2013, I electronically filed the foregoing Defendant’s

Response Brief in Opposition to Plaintiffs’ Request for Preliminary Injunction using the Court’s

CM/ECF system, which will send notification of such filing to the following ECF users:

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